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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

In Re:

LORENZO GUTIERREZ TORREZ                                      Case No. 6:16-bk-02879-RAC
STEVI JEAN TORREZ
                                                              Chapter 7
         Debtors

________________________________/

 MOTION FOR RELIEF FROM AUTOMATIC STAY (SURRENDERED PROPERTY)

                                    NOTICE OF OPPORTUNITY TO
                               OBJECT AND REQUEST FOR HEARING
                Pursuant to Local Rule 2002-4, the Court will consider this motion,
         objection, or other matter without further notice or hearing unless a party in
         interest files an objection within twenty-one (21) days from the date set forth on the
         proof of service attached to this paper plus an additional three days for service. If
         you object to the relief requested in this paper, you must file your response with the
         Clerk of the Court at George C. Young Federal Courthouse, 400 W. Washington
         Street, Suite 5100, Orlando, Florida 32801, and serve a copy on the movant's
         attorney, Heather J. Koch, Esq., Florida Bar No. 89107 of Phelan Hallinan Diamond
         & Jones, PLLC, 2727 West Cypress Creek Road, Ft. Lauderdale, FL 33309 and any
         other appropriate persons within the time allowed.

                 If you file and serve a response within the time permitted, the Court may
         schedule and notify you of a hearing, or the Court may consider the response and
         may grant or deny the relief requested without a hearing. If you do not file a
         response within the time permitted, the Court will consider that you do not oppose
         the relief requested in the paper, will proceed to consider the paper without further
         notice or hearing, and may grant the relief requested.

         By and through its undersigned counsel, Phelan Hallinan Diamond & Jones, PLLC, PHH

Mortgage Corporation (“Movant”), its successors and/or assigns, a secured creditor of the above-

referenced Debtors, hereby moves the Court for an Order granting relief from stay pursuant to 11

U.S.C. §362(d) and states:

   1. This Court has jurisdiction over these matters pursuant to 28 U.S.C. §1334 and 28 U.S.C.

§157(b)(2)(G).



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   2. On April 29, 2016, the Debtor filed a Voluntary Petition under Chapter 7 of the

Bankruptcy Code.

   3. According to Schedule C, the Debtors have not claimed the Property as exempt.

   4. The real property located at 10403 LAKE HILL DRIVE, CLERMONT, FL 34711

(hereinafter, the "Property") is legally described as follows:

       LOT 17, CRESCENT WEST, ACCORDING TO THE PLAT THEREOF, AS
       RECORDED IN PLAT BOOK 29 PAGES 67, 68 & 69, INCLUSIVE, PUBLIC
       RECORDS OF LAKE COUNTY, FLORIDA


   5. Movant is the holder of the Note Secured by the Mortgage encumbering the property

claimed by the Debtors to be part of the bankruptcy estate and is a party in interest in this

bankruptcy proceeding.

   6. On June 15, 2011, the Debtors executed a Promissory Note in the principal amount of

$155,944.00 (herein, the "Note"). A copy of the Note is attached as Exhibit "A" and incorporated

by reference.

   7. The Note was secured by a mortgage which was recorded as Book 4044, Page 2031-

2042, Instrument No. 2011058217 on June 22, 2011. A copy of the Mortgage is attached as

Exhibit "B" and incorporated by reference.

   8. Debtors have defaulted under the terms of the Note and Mortgage by failing to timely

tender the payments due. The Debtor's loan is currently contractually due for June 1, 2015.

   9. The post-petition payment address of the Movant is: PHH Mortgage Corporation, 1

Mortgage Way, Mailstop: SBRP, MT. Laurel, NJ 08054.

   10. There is now due and owing from the Debtors to Movant pursuant to the terms of

Exhibits "A" and "B" the principal amount of $143,377.54, together with interest from May 1,




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2015, additional advances made to protect the security granted, other expenses, costs of this

action and attorney's fees.

    11. Movant has not been offered and does not have adequate protection of its interest in the

Property. Moreover, Movant cannot be certain that the real property is insured or will remain

insured or that the property is being maintained.

    12. Debtors have alleged a current value of the subject property as $151,831.00 under

Schedule A to Debtors' petition.

    13. Filing of the Petition under the Bankruptcy Code has stayed Movant from proceeding

with its state court rights.

    14. Movant is entitled to relief from the automatic stay because the Debtors have no equity in

the Property and the interest of the Debtors and/or Trustee herein is inferior and subordinate to

the interest of the Movant.

    15. The Debtor's Statement of Intention calls for the surrender of the Property.

    16. Movant requests a waiver of the fourteen (14) day stay under Rule 4001(a)(3) of the

Order granting relief so that Movant may pursue in rem remedies without further delay.

    17. Movant seeks the award of fees and costs of $926.00 for the prosecution of this motion as

provided for and allowed under the terms of the Mortgage.

    18. Movant is entitled to adequate protection of its interests in the subject real property and

requests the Court to require the Debtors to make adequate protection payments; and if no such

adequate protection can be provided, Movant prays for entry of an Order granting relief from the

stay of 11 U.S.C. §362 to permit Movant to proceed with its state court rights.




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    19. Movant requests permission to communicate with the Debtors and Debtors' counsel to the

extent necessary to comply with applicable non-bankruptcy law.

        WHEREFORE, Movant requests that this Court modify the stay under 11 U.S.C. §362(d)

and permit it to proceed with its State Court rights under the terms of the Mortgage and Note,

requests that the fourteen-day extension of the stay under Rule 4001(a)(3) be waived, award

bankruptcy fees and costs in the amount of $926.00, permit it to communicate with the Debtors

and counsel in order to comply with applicable non-bankruptcy law, and requests such additional

relief as is just.



                                           /s/ Heather J. Koch, Esquire
                                           Heather J. Koch, Esq., Florida Bar No. 89107
                                           Phelan Hallinan Diamond & Jones, PLLC
                                           2727 West Cypress Creek Road
                                           Ft. Lauderdale, FL 33309
                                           Tel: 954-462-7000 Ext. 53332
                                           Fax: 954-462-7001
                                           FLMD.bankruptcy@phelanhallinan.com




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                                     PROOF OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the foregoing, and any

applicable exhibits attached thereto, has been served electronically, or routed for service by U.S.

Mail, to the following:


LORENZO GUTIERREZ TORREZ
10403 LAKE HILL DR.
CLERMONT, FL 34711

STEVI JEAN TORREZ
10403 LAKE HILL DR.
CLERMONT, FL 34711

KATIE M MILLER
THE LAW OFFICES OF KATIE M. MILLER, P.A.
15701 HIGHWAY 50, SUITE 204
CLERMONT, FL 34711

DENNIS D KENNEDY, (TRUSTEE)
P.O. BOX 541848
MERRITT ISLAND, FL 32954

UNITED STATES TRUSTEE (SERVED ELECTRONICALLY)
OFFICE OF THE UNITED STATES TRUSTEE
GEORGE C YOUNG FEDERAL BUILDING
400 WEST WASHINGTON STREET, SUITE 1100
ORLANDO, FLORIDA 32801

Date: July 13, 2016                           /s/ Heather J. Koch, Esquire
                                              Heather J. Koch, Esq., Florida Bar No. 89107
                                              Phelan Hallinan Diamond & Jones, PLLC
                                              2727 West Cypress Creek Road
                                              Ft. Lauderdale, FL 33309
                                              Tel: 954-462-7000 Ext. 53332
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